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  8

  9                         UNITED STATES DISTRICT COURT

 10                       SOUTHERN DISTRICT OF CALIFORNIA

 11

 12 CHASE ROGERS, individually and on behalf of Case No.: 3:20-cv-02194-CAB-MSB
    all others similarly situated,
 13
                    Plaintiff,                  JOINT NOTICE OF SETTLEMENT
 14
    vs.
 15
                                                JUDGE: Hon. Cathy Ann Bencivengo
 16 INFINITY ENERGY, INC., a California         FILED:      November 10, 2020
    corporation,
 17                                             TRIAL:      May 9, 2022
                    Defendants.
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                                   NOTICE OF SETTLEMENT
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